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 7

 8                            UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10     THOMAS M. DILLON, an individual,                              Case Number
                                                               2:20-cv-00506-JAD-VCF
11                                 Plaintiff,

12           vs.

13     U.S. BANK, NATIONAL ASSOCIATION, a                  JOINT MOTION DISMISSING
       Foreign Company; EQUIFAX                          ACTION WITH PREJUDICE AS TO
14     INFORMATION SERVICES LLC, a Foreign                   DEFENDANT EQUIFAX
       Limited-Liability Company; EXPERIAN                INFORMATION SERVICES LLC
15     INFORMATION SOLUTIONS, INC., a                               ONLY
       Foreign Corporation; and TRANS UNION
16     LLC, a Foreign Limited-Liability Company,

17                                 Defendants.                       ECF No. 26

18

19         Plaintiff, Thomas M. Dillon (“Plaintiff”) and Defendant, Equifax Information Services

20 LLC, by and through their respective attorneys of record, request that the above-captioned matter

21 . . .

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 1 be dismissed with prejudice as to Equifax Information Services LLC only, pursuant to

 2 FRCP 41(a)(2). Each party shall bear its own attorney fees and costs incurred herein.

 3 Dated this 7th day of July, 2020.                 Dated this 7th day of July, 2020.

 4 COGBURN LAW                                       CLARK HILL PLLC

 5
     By: /s/Erik W. Fox                              By: /s/Jeremy J. Thompson
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 8       2580 St. Rose Parkway, Suite 330                Attorneys for Equifax Information
         Henderson, Nevada 89074                         Services LLC
 9       Attorneys for Plaintiff

10         IT IS SO ORDERED.

11

12
                                                UNITED STATES DISTRICT JUDGE
                                                ORDER
13
                  Based on the joint motion by plaintiff and Equifax Information Services LLC
14
      [ECF No. 26] and with good cause appearing, DATEIT IS HEREBY ORDERED that ALL
15    CLAIMS AGAINST Equifax Information Services LLC are DISMISSED with prejudice,
      each side to bear its own fees and costs.
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                                                 _________________________________
17                                               U.S. District Judge Jennifer A. Dorsey
                                                 Dated: July 9, 2020
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